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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO

 Symbology Innovations LLC,                       :
                                                  :         Case No. 2:19-cv-05407
                Plaintiff,                        :
                                                  :         Judge Morrison
        v.                                        :
                                                  :         Chief Magistrate Judge Deavers
 Fresh Del Monte Produce Inc.,                    :
                                                  :
                Defendant.                        :

                      STIPULATED DISMISSAL WITH PREJUDICE

       Now comes Defendant Fresh Del Monte Produce Inc. (“Del Monte”) and Plaintiff

Symbology Innovations LLC (“Symbology”), by and through their respective undersigned

counsel, who respectfully give notice that pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of

Civil Procedure, Plaintiff dismisses all claims against Defendant with prejudice.

                                     Respectfully submitted,

 /s/ Howard L. Wernow                            /s/ Jonathan R. Secrest
 Howard L. Wernow                                Jonathan R. Secrest (0075445)
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                                                 H. Jonathan Redway (Pro Hac Vice
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                                                 Counsel for Defendant
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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true copy of the foregoing was filed electronically

and served by operation of the Court’s electronic filing system on May 4, 2020. Parties may access

the foregoing through the Court’s system.

                                                  /s/ Jonathan R. Secrest
                                                  Jonathan R. Secrest (0075445)




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